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 8                                UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        No. 2:07-cr-0088 KJM DAD P
12                      Respondent,
13           v.                                       ORDER
14   RICARDO VALENCIA DIAZ,
15                      Movant.
16

17           Movant, a federal prisoner proceeding through counsel, has requested that this action be

18   dismissed. Pursuant to Fed. R. Civ. P. 41(a), movant’s request shall be honored.

19           Accordingly, IT IS HEREBY ORDERED that this action is dismissed without prejudice,

20   and the Clerk of the Court is directed to close the companion Civil Case No. 2:14-cv-0018 KJM

21   DAD.

22   Dated: August 28, 2014

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25   DAD:9
     diaz0088.259
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